













NUMBER 13-09-00299-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






LAURA L. SANDERS,	APPELLANT,


v.



EDWARD L. SANDERS,	APPELLEE.





On appeal from the 107th District Court 


of Cameron County, Texas.






MEMORANDUM OPINION


	

Before Justices Yañez, Benavides, and Vela


Memorandum Opinion Per Curiam


	This case is before the Court on a joint and agreed motion to render judgment
effectuating the agreement of the parties and to dismiss the appeal.  The parties have
reached an agreement with regard to the disposition of the matters currently on appeal. 
Pursuant to agreement, the parties request this Court to render judgment effectuating the
parties' agreement.  See Tex. R. App. P. 42.1(a)(2)(A).  The parties have agreed that the
Court should modify the trial court judgment by rendering the following order: (1) Laura L.
Benavidez' name be restored to Laura L. Sanders and (2) Child support to be paid by
Laura L. Sanders be set, commencing on November 24, 2008, to $630.00.

	We GRANT the joint motion to dismiss.  We RENDER judgment effectuating the
parties' agreement: the trial court judgment is modified as follows: (1) Laura L. Benavidez'
name be restored to Laura L. Sanders and (2) Child support to be paid by Laura L.
Sanders be set, commencing on November 24, 2008, to $630.00, and DISMISS the
appeal.  Appellant shall bear the costs of this appeal. See id. 42.1(d).

	The parties request immediate issuance of our mandate.  See Tex. R. App.
P.18.1(c).  The motion is GRANTED.  We direct the Clerk of the Court to issue the
mandate immediately.

									PER CURIAM

Delivered and filed the 17th

day of December, 2009. 

			



	


